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              EXHIBIT A
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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                                MACON DIVISION

                                           )
TIMOTHY GUMM,                              )
                                           )
        Plaintiff,                         )
                                           )           CIVIL ACTION
V.                                         )
                                           )           NO. 5:15-CV-41-MTT-CHW
ERIC SELLERS, et al.,                      )
                                           )
        Defendants.                        )
~~~~~~~~~)

                 DECLARATION OF CRAIG HANEY, PH.D, J.D.

        I, Craig Haney, being competent to make this declaration and having

personal knowledge of the matters stated herein, declare under penalty of perjury

that the following is true and correct:

        1.     I am over 21 years of age. The statements contained in this

declaration are based on my personal knowledge and are true and correct. I am

aware that they will be used in a court of law.

        2.     I am a Distinguished Professor of Psychology at the University of

California, Santa Cruz, and the UC Presidential Chair, 2015-2018. My curriculum

vitae is attached to this declaration as Appendix A.

       3.      My area of academic specialization is in what is generally termed

"psychology and law," which is the application of psychological data and
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principles to legal issues. I teach graduate and undergraduate courses in social

psychology, psychology and law, and research methods. I received a bachelor's

degree in psychology from the University of Pennsylvania, an M.A. and Ph.D. in

psychology from Stanford University, and a J.D. from Stanford University. I have

received a number of scholarships, fellowships, and academic awards.

      4.       I have published numerous scholarly articles and book chapters on

topics in law and psychology, including encyclopedia and handbook chapters on

the backgrounds and social histories of persons accused of violent crimes; the

psychological effects of imprisonment; and the nature and consequences of solitary

or "supermax"-type confinement. In addition, I have published two books: Death

by Design: Capital Punishment as a Social Psychological System (Oxford

University Press, 2005), and Reforming Punishment: Psychological Limits to the

Pains of Imprisonment (American Psychological Association Books, 2006 ).

      5.     I have lectured and given invited addresses throughout the country on

the role of social and institutional histories in explaining criminal violence, the

psychological effects of living and working in institutional settings (typically

maximum security prisons), and the psychological consequences of solitary

confinement.

      6.     I have served as a consultant to government, law enforcement, and

legal agencies and organizations on crime and prison policy, including the police



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and sheriffs' departments, various California Legislative Select Committees, the

National Science Foundation, the American Association for the Advancement of

Science. the United States Department of Justice, and the White House.

      7.     My academic interest in the psychological effects of various prison

conditions is longstanding and dates to 1971, when I was a graduate student. I was

one of the principal researchers in what has come to be known as the "Stanford

Prison Experiment," in which my colleagues Philip Zimbardo, Curtis Banks, and I

randomly assigned nonnal, psychologically healthy college students to the roles of

either "prisoner" or "guard" within a simulated prison environment. The study has

since come to be regarded as a classic study in the field, demonstrating the power

of institutional settings to change and transform the people who enter them.

      8.     Since then, I have been studying the psychological effects ofliving

and working in institutional environments, including mainli~e adult prisons and

jails; specialized correctional housing units, such as solitary and "supermax"-type

confinement; and juvenile facilities. In the course of that work, I have toured and

inspected numerous maximum-security state prisons and related facilities in

Alabama, Arizona, Arkansas, California, Colorado, Florida, Georgia, Hawaii,

Idaho, Illinois, Louisiana, Maine, Massachusetts, Montana, New Jersey, New

Mexico, New York, Ohio, Oklahoma, Oregon, Pennsylvania, Tennessee, Texas,

Utah, and Washington. I have also toured and inspected many maximum security



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federal prisons, including the Administrative Maximum or "ADX" facility in

Florence, Colorado, as well as prisons in Canada, Cuba, England, Hungary,

Ireland, Mexico, and Norway.

      9.     I have conducted many interviews with correctional officials, guards,

and prisoners to assess the impact of penal confinement, and statistically analyzed

aggregate data from numerous correctional documents and official records to

examine the effects of specific conditions of confinement on the quality of prison

life and the ability of prisoners to adjust to them.

       10.   I have been qualified and have testified as an expert in various federal

courts, including United States District Courts in Alabama, Arkansas, California,

Georgia, New Mexico, Pennsylvania, Texas, and Washington, and state courts in

California, Colorado, Florida, Montana, New Jersey, New Mexico, Ohio, Oregon,

Tennessee, Utah, and Wyoming, as well as in Canada.

       11.   My research, writing, and testimony have been cited by state courts,

including the California Supreme Court, and by federal district courts, circuit

courts of appeals, and the United States Supreme Court.

       12.   Over the past nearly forty years, when I have been retained to evaluate

and form opinions about conditions of confinement and policies and practices in

correctional facilities or prison systems, I have used a standard methodology that

includes reviewing a wide range of documents, conducting on-site tours and



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inspections at relevant facilities, conducting in-passing interviews with prison staff

members, and conducting an extensive number of both cell-front and individual,

confidential interviews with prisoners at the facilities I tour.

       13.   I have been retained by counsel for the plaintiff in this case to provide

expert opinions on the psychological consequences of confinement in the Special

Management Unit (SMU) at Georgia Diagnostic and Classification Prison.

       14.   To adequately assist the plaintiff and render a reliable opinion in this

case consistent with my typical methodology, I will need to inspect and tour the

SMU's physical plant, interview prisoners, and review records.

       15.   On October 26 and 27, 2017, I visited the SMU and toured the

facility. During the tour, I observed the conditions of confinement in the SMU's

six housing units, or "wings," and spoke with a number of prisoners at their cell-

fronts. On the afternoon of October 26, and throughout the day on October 27, I

conducted longer, out-of-cell interviews with a total of 11 prisoners.

       16.   To prepare a report and render an opinion consistent with my normal

methodology, I will need to review institutional and medical files for each of the

11 prisoners that I interviewed. Institutional and medical files provide a

documentary record of a prisoner's behavior, physical health, and mental health

over the course of his incarceration. These records typically contain valuable

additional information (of the sort that is difficult to acquire at cell-front and even



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in a confidential interview) as well as general background information that

provides useful context for the data collected directly from the prisoners in the

course of interviewing them.

       17.   With respect to medical and mental health records, the entire file for

each interviewed prisoner is important to review because it is difficult if not

impossible to know in advance the significance of any particular document in the

file without first examining it.

       18.   With respect to prisoners' institutional files, the entire file for each

interviewed prisoner is necessary because these files contain a large amount of

information that does not appear to be categorized in a way that would allow me to

designate in advance those portions that would be relevant. For example, I have

examined Timothy Gumm 's institutional file, which contains a wide variety of

significant documents, such as behavioral reports and classification fonns,

interspersed with less significant documents, such as property inventory sheets,

requests for indigent postage, and the like. As most of the documents in the file

are relevant and potentially significant to my work, I have instructed Plaintiffs

counsel to obtain the entire institutional file for each prisoner that I interviewed on

October 26 and 27.

       19.   After touring the SMU, viewing the conditions in the SMU's "E

Wing" firsthand, and speaking with multiple prisoners housed in E Wing, I further



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                APPENDIX A
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                                 CURRICULUM VITAE


                                  Craig William Haney
                          Distinguished Professor of Psychology
                            UC Presidential Chair, 2015-2018
                         University of California, Santa Cruz 95064

                                    Co-Director,
                      UC Consortium on Criminal Justice Healthcare


home address:        317 Ocean View Ave.
                     Santa Cruz, California 95062
phone:               (831) 459-2153
fax:                 (831) 425-3664
email:               psylaw@ucsc.edu



PREVIOUS EMPLOYMENT

      2015-2018            University of California Presidential Chair

      2014-present         Distinguished Professor of Psychology, University of
                           California, Santa Cruz

      1985-2014            University of California, Santa Cruz, Professor of Psychology

      1981-85              University of California, Santa Cruz, Associate Professor of
                           Psychology

      1978-81              University of California, Santa Cruz, Assistant Professor of
                           Psychology

      1977-78              University of California, Santa Cruz, Lecturer in Psychology

      1976-77              Stanford University, Acting Assistant Professor of
                           Psychology


EDUCATION

      1978                 Stanford Law School, J.D.


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    1978             Stanford University, Ph.D. (Psychology)

    1972             Stanford University, M.A. (Psychology)

    1970             University of Pennsylvania, B.A.


HONORS AWARDS GRANTS


    2016       Vera Institute of Justice “Reimagining Prisons” Initiative Advisory
               Council.

               Psychology Department “Most Inspiring Lecturer”

    2015       University of California Presidential Chair (2015-2018 Term)

               Martin F. Chemers Award for Outstanding Research in Social
               Science

               Excellence in Teaching Award (Academic Senate Committee on
               Teaching).

               President’s Research Catalyst Award for “UC Consortium on
               Criminal Justice Healthcare” (with Brie Williams and Scott Allen).

               Vera Institute of Justice “Safe Alternatives to Segregation” (SAS)
               Initiative Advisory Council.

               Who’s Who in Psychology (Top 20 Psychology Professors in
               California) [http://careersinpsychology.org/psychology-degrees-
               schools-employment-ca/#ca-psych-prof]

      2014     Distinguished Faculty Research Lecturer, University of California,
               Santa Cruz.

      2013     Distinguished Plenary Speaker, American Psychological Association
               Annual Convention.

     2012      Appointed to National Academy of Sciences Committee to Study the
               Causes and Consequences of High Rates of Incarceration in the
               United States.

               Invited Expert Witness, United States Senate, Judiciary Committee.




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    2011      Edward G. Donnelly Memorial Speaker, University of West Virginia
              Law School.

    2009      Nominated as American Psychological Foundation William Bevan
              Distinguished Lecturer.

              Psi Chi “Best Lecturer” Award (by vote of UCSC undergraduate
              psychology majors).

    2006      Herbert Jacobs Prize for Most Outstanding Book published on law
              and society in 2005 (from the Law & Society Association, for Death
              by Design).

              Nominated for National Book Award (by American Psychological
              Association Books, for Reforming Punishment: Psychological
              Limits to the Pains of Imprisonment).

              “Dream course” instructor in psychology and law, University of
              Oklahoma.

    2005      Annual Distinguished Faculty Alumni Lecturer, University of
              California, Santa Cruz.

              Arthur C. Helton Human Rights Award from the American
              Immigration Lawyers Association (co-recipient).

              Scholar-in-Residence, Center for Social Justice, Boalt Hall School of
              Law (University of California, Berkeley).

    2004      “Golden Apple Award” for Distinguished Teaching, awarded by the
              Social Sciences Division, University of California, Santa Cruz.

              National Science Foundation Grant to Study Capital Jury Decision-
              making

    2002      Santa Cruz Alumni Association Distinguished Teaching Award,
              University of California, Santa Cruz.

              United States Department of Health & Human Services/Urban
              Institute, “Effects of Incarceration on Children, Families, and Low-
              Income Communities” Project.

              American Association for the Advancement of Science/American
              Academy of Forensic Science Project: “Scientific Evidence Summit”
              Planning Committee.

              Teacher of the Year (UC Santa Cruz Re-Entry Students’ Award).


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    2000      Invited Participant White House Forum on the Uses of Science and
              Technology to Improve National Crime and Prison Policy.

              Excellence in Teaching Award (Academic Senate Committee on
              Teaching).

              Joint American Association for the Advancement of Science-
              American Bar Association Science and Technology Section National
              Conference of Lawyers and Scientists.

    1999      American Psychology-Law Society Presidential Initiative
              Invitee (“Reviewing the Discipline: A Bridge to the Future”)

              National Science Foundation Grant to Study Capital Jury Decision-
              making (renewal and extension).

    1997      National Science Foundation Grant to Study Capital Jury Decision-
              making.

    1996       Teacher of the Year (UC Santa Cruz Re-Entry Students’ Award).

    1995      Gordon Allport Intergroup Relations Prize (Honorable Mention)

              Excellence in Teaching Convocation, Social Sciences Division

    1994      Outstanding Contributions to Preservation of Constitutional Rights,
              California Attorneys for Criminal Justice.

    1992      Psychology Undergraduate Student Association Teaching Award

              SR 43 Grant for Policy-Oriented Research With Linguistically
              Diverse Minorities

    1991       Alumni Association Teaching Award (“Favorite Professor”)

    1990       Prison Law Office Award for Contributions to Prison Litigation

    1989      UC Mexus Award for Comparative Research on Mexican Prisons

    1976      Hilmer Oehlmann Jr. Award for Excellence in Legal Writing at
              Stanford Law School

    1975-76   Law and Psychology Fellow, Stanford Law School

    1974-76   Russell Sage Foundation Residency in Law and Social Science



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  Case 5:15-cv-00041-MTT-CHW Document 116-1 Filed 11/02/17 Page 14 of 48



      1974           Gordon Allport Intergroup Relations Prize, Honorable Mention

      1969-71        University Fellow, Stanford University

      1969-74        Society of Sigma Xi

      1969           B.A. Degree Magna cum laude with Honors in Psychology

                     Phi Beta Kappa

      1967-1969 University Scholar, University of Pennsylvania



UNIVERSITY SERVICE AND ADMINISTRATION


       2010-2016           Director, Legal Studies Program

       2010-2014           Director, Graduate Program in Social Psychology

      2009                 Chair, Legal Studies Review Committee

      2004-2006            Chair, Committee on Academic Personnel

       1998-2002           Chair, Department of Psychology

       1994-1998           Chair, Department of Sociology

       1992-1995           Chair, Legal Studies Program

       1995 (Fall)         Committee on Academic Personnel

       1995-1996           University Committee on Academic Personnel (UCAP)

       1990-1992           Committee on Academic Personnel

      1991-1992            Chair, Social Science Division Academic Personnel
                           Committee

      1984-1986            Chair, Committee on Privilege and Tenure



WRITINGS AND OTHER CREATIVE ACTIVITIES IN PROGRESS




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      Books:

        Context and Criminality: Deconstructing the Crime Master Narrative (working
        title, in preparation for APA Books).

      Articles:

        “The Psychological Foundations of Capital Mitigation: Why Social Historical
        Factors Are Central to Assessing Culpability,” in preparation.


PUBLISHED WRITINGS AND CREATIVE ACTIVITIES

      Books

       2014        The Growth of Incarceration in the United States: Exploring the
                   Causes and Consequences (with Jeremy Travis, Bruce Western, et
                   al.). [Report of the National Academy of Sciences Committee on the
                   Causes and Consequences of High Rates of Incarceration in the
                   United States.] Washington, DC: National Academy Press.

       2006        Reforming Punishment: Psychological Limits to the Pains of
                   Imprisonment, Washington, DC: American Psychological
                   Association Books.

       2005        Death by Design: Capital Punishment as a Social Psychological
                   System. New York: Oxford University Press.


Monographs and Technical Reports


       1989        Employment Testing and Employment Discrimination (with A.
                   Hurtado). Technical Report for the National Commission on
                   Testing and Public Policy. New York: Ford Foundation.


      Articles in Professional Journals and Book Chapters


       2017        Special Issue: “Translating Research into Policy to Advance
                   Correctional Health” (guest editor with B. Williams, C. Ahalt, S.
                   Allen, & J. Rich), International Journal of Prisoner Health, 13, 1-63.

                   “Reducing the Use and Impact of Solitary Confinement in
                   Corrections” (with Cyrus Ahalt, Sarah Rios, Matthew Fox, David



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              Farabee, and Brie Williams), International Journal of Prisoner
              Health, 13, 41-48.

              “‘Madness’ and Penal Confinement: Observations on Mental Illness
              and Prison Pain,” Punishment and Society.

    2016      “Examining Jail Isolation: What We Don’t Know Can Be Profoundly
              Harmful” (with Joanna Weill, Shirin Bakhshay, and Tiffany
              Winslow), The Prison Journal, 96, 126-152.

              “On Structural Evil: Disengaging From Our Moral Selves,” Review
              of the book Moral Disengagement: How People Do Harm and Live
              With Themselves, by A. Bandura], PsycCRITIQUES, 61(8).


    2015      “When Did Prisons Become Acceptable Mental Healthcare
              Facilities?,” Report of the Stanford Law School Three Strikes
              Project (with Michael Romano et al.) [available at:
              http://law.stanford.edu/wp-
              content/uploads/sites/default/files/child-
              page/632655/doc/slspublic/Report_v12.pdf ].

              “Emotion, Authority, and Death: (Raced) Negotiations in Capital
              Jury Negotiations” (with Mona Lynch), Law & Social Inquiry, 40,
              377-405.

              “Prison Overcrowding,” in B. Cutler & P. Zapf (Eds.), APA
              Handbook of Forensic Psychology (pp. 415-436). Washington, DC:
              APA Books.

              “The Death Penalty” (with Joanna Weill & Mona Lynch), in B.
              Cutler & P. Zapf (Eds.), APA Handbook of Forensic Psychology (pp.
              451-510). Washington, DC: APA Books.

              “‘Prisonization’ and Latinas in Alternative High Schools” (with Aida
              Hurtado & Ruby Hernandez), in J. Hall (Ed.), Routledge Studies in
              Education and Neoliberalism: Female Students and Cultures of
              Violence in the City (pp. 113-134). Florence, KY: Routledge.


    2014      “How Healthcare Reform Can Transform the Health of Criminal
              Justice-Involved Individuals” (with Josiah Rich, et al.), Health
              Affairs, 33:3 (March), 1-6.




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    2013      “Foreword,” for H. Toch, Organizational Change Through
              Individual Empowerment: Applying Social Psychology in Prisons
              and Policing. Washington, DC: APA Books (in press).

              “Foreword,” for J. Ashford & M. Kupferberg, Death Penalty
              Mitigation: A Handbook for Mitigation Specialists, Investigators,
              Social Scientists, and Lawyers. New York: Oxford University Press.


    2012      “Politicizing Crime and Punishment: Redefining ‘Justice’ to Fight
              the ‘War on Prisoners,’” West Virginia Law Review, 114, 373-414.

              “Prison Effects in the Age of Mass Imprisonment,” Prison Journal,
              92, 1-24.

              “The Psychological Effects of Imprisonment,” in J. Petersilia & K.
              Reitz (Eds.), Oxford Handbook of Sentencing and Corrections (pp.
              584-605). New York: Oxford University Press.


    2011      “The Perversions of Prison: On the Origins of Hypermasculinity and
              Sexual Violence in Confinement,” American Criminal Law Review,
              48, 121-141. [Reprinted in: S. Ferguson (Ed.), Readings in Race,
              Gender, Sexuality, and Social Class. Sage Publications (2012).]

              “Mapping the Racial Bias of the White Male Capital Juror: Jury
              Composition and the ‘Empathic Divide’” (with Mona Lynch), Law
              and Society Review, 45, 69-102.

              “Getting to the Point: Attempting to Improve Juror Comprehension
              of Capital Penalty Phase Instructions" (with Amy Smith), Law and
              Human Behavior, 35, 339-350.

              “Where the Boys Are: Macro and Micro Considerations for the
              Study of Young Latino Men’s Educational Achievement” (with A.
              Hurtado & J. Hurtado), in P. Noguera & A. Hurtado (Eds.),
              Understanding the Disenfranchisement of Latino Males:
              Contemporary Perspectives on Cultural and Structural Factors (pp.
              101-121). New York: Routledge Press.

              “Looking Across the Empathic Divide: Racialized Decision-Making
              on the Capital Jury” (with Mona Lynch), Michigan State Law
              Review, 2011, 573-608.


    2010      “Demonizing the ‘Enemy’: The Role of Science in Declaring the
              ‘War on Prisoners,’” Connecticut Public Interest Law Review, 9,


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              139-196.

              “Hiding From the Death Penalty,” Huffington Post, July 26, 2010
              [www.huffingtonpost.com/craig-haney/hiding-from-the-death-
              pen-pen_b_659940.html]; reprinted in Sentencing and Justice
              Reform Advocate, 2, 3 (February, 2011).


    2009      “Capital Jury Deliberation: Effects on Death Sentencing,
              Comprehension, and Discrimination” (with Mona Lynch), Law and
              Human Behavior, 33, 481-496.

              “The Social Psychology of Isolation: Why Solitary Confinement is
              Psychologically Harmful,” Prison Service Journal UK (Solitary
              Confinement Special Issue), Issue 181, 12-20. [Reprinted: California
              Prison Focus, #36, 1, 14-15 (2011).]

              “The Stanford Prison Experiment,” in John Levine & Michael Hogg
              (Eds.), Encyclopedia of Group Processes and Intergroup Relations.
              Thousand Oaks, CA: Sage Publications.

              “Media Criminology and the Death Penalty,” DePaul Law Review,
              58, 689-740. (Reprinted: Capital Litigation Update, 2010.)

              “On Mitigation as Counter-Narrative: A Case Study of the Hidden
              Context of Prison Violence,” University of Missouri-Kansas City
              Law Review, 77, 911-946.

              “Persistent Dispositionalism in Interactionist Clothing:
              Fundamental Attribution Error in Explaining Prison Abuse,” (with
              P. Zimbardo), Personality and Social Psychology Bulletin, 35, 807-
              814.


    2008      “Counting Casualties in the War on Prisoners,” University of San
              Francisco Law Review, 43, 87-138.

              “Evolving Standards of Decency: Advancing the Nature and Logic of
              Capital Mitigation,” Hofstra Law Review, 36, 835-882.

              “A Culture of Harm: Taming the Dynamics of Cruelty in Supermax
              Prisons,” Criminal Justice and Behavior, 35, 956-984.

              “The Consequences of Prison Life: Notes on the New Psychology of
              Prison Effects,” in D. Canter & R. Zukauskiene (Eds.), Psychology
              and Law: Bridging the Gap (pp. 143-165). Burlington, VT: Ashgate
              Publishing.


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              “The Stanford Prison Experiment,” in J. Bennett & Y. Jewkes
              (Eds.), Dictionary of Prisons (pp. 278-280). Devon, UK: Willan
              Publishers.

              “Capital Mitigation,” in Brian Cutler (Ed.), The Encyclopedia of
              Psychology and the Law (pp. 60-63). Volume I. Thousand Oaks, CA:
              Sage Publications.

              Death Qualification of Juries,” in Brian Cutler (Ed.), The
              Encyclopedia of Psychology and the Law (pp. 190-192). Volume I.
              Thousand Oaks, CA: Sage Publications.

              “Stanford Prison Experiment,” in Brian Cutler (Ed.), The
              Encyclopedia of Psychology and the Law (pp. 756-757) (with P.
              Zimbardo). Volume II. Thousand Oaks, CA: Sage Publications.

              “Supermax Prisons,” in Brian Cutler (Ed.), The Encyclopedia of
              Psychology and the Law (pp. 787-790). Volume II. Thousand Oaks,
              CA: Sage Publications.


    2006      “The Wages of Prison Overcrowding: Harmful Psychological
              Consequences and Dysfunctional Correctional Reactions,”
              Washington University Journal of Law & Policy, 22, 265-293.
              [Reprinted in: N. Berlatsky, Opposing Viewpoints: America’s
              Prisons. Florence, KY: Cengage Learning, 2010.]

              “Exonerations and Wrongful Condemnations: Expanding the Zone
              of Perceived Injustice in Capital Cases,” Golden Gate Law Review,
              37, 131-173.

              “Preface,” D. Jones (Ed.), Humane Prisons. San Francisco, CA:
              Radcliffe Medical Press.


    2005      “The Contextual Revolution in Psychology and the Question of
              Prison Effects,” in Alison Liebling and Shadd Maruna (Eds.), The
              Effects of Imprisonment (pp. 66-93). Devon, UK: Willan
              Publishing.

              “Achieving Educational Equity: Beyond Individual Measures of
              Merit,” (with A. Hurtado), Harvard Journal of Hispanic Policy, 17,
              87-92.

              “Conditions of Confinement for Detained Asylum Seekers Subject to
              Expedited Removal,” in M. Hetfield (Ed.), Report on Asylum


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              Seekers in Expedited Removal. Volume II: Expert Reports.
              Washington, DC: United States Commission on International
              Religious Freedom.


    2004      “Special Issue on the Death Penalty in the United States” (co-edited
               with R. Weiner), Psychology, Public Policy, and Law, 10, 374-621.

              “Death Is Different: An Editorial Introduction” (with R. Wiener),
              Psychology, Public Policy, and Law, 10, 374-378.

              “The Death Penalty in the United States: A Crisis of Conscience”
              (with R. Wiener), Psychology, Public Policy, and Law, 10, 618-621.

              “Condemning the Other in Death Penalty Trials: Biographical
              Racism, Structural Mitigation, and the Empathic Divide,” DePaul
              Law Review, 53, 1557-1590.

              “Capital Constructions: Newspaper Reporting in Death Penalty
              Cases” (with S. Greene), Analyses of Social Issues and Public Policy
              (ASAP), 4, 1-22.

              “Abu Ghraib and the American Prison System,” The
              Commonwealth, 98 (#16), 40-42.

              “Disciplinary Segregation,” in Mary Bosworth (Ed.), Encyclopedia
              of U.S. Prisons and Correctional Facilities (240-244). Volume 1.
              Thousand Oaks, CA: Sage Publications.

              “Super-Maximum Secure Prisons,” in Mary Bosworth (Ed.),
              Encyclopedia of U.S. Prisons and Correctional Facilities (pp. 938-
              944). Volume 2. Thousand Oaks, CA: Sage Publications.


     2003     “Mental Health Issues in Long-Term Solitary and ‘Supermax’
              Confinement,” Crime & Delinquency (special issue on mental health
              and the criminal justice system), 49, 124-156. [Reprinted in:
              Roesch, R., & Gagnon, N. (Eds.), Psychology and Law: Criminal and
              Civil Perspectives. Hampshire, UK: Ashgate (2007).]

              “The Psychological Impact of Incarceration: Implications for Post-
              Prison Adjustment,” in Travis, J., & Waul, M. (Eds.), Prisoners
              Once Removed: The Impact of Incarceration and Reentry on
              Children, Families, and Communities (pp. 33-66). Washington, DC:
              Urban Institute Press.




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              “Comments on “Dying Twice”: Death Row Confinement in the Age
              of the Supermax,” Capital University Law Review.


    2002      “Making Law Modern: Toward a Contextual Model of Justice,
              Psychology, Public Policy, and Law, 7, 3-63.

              “Psychological Jurisprudence: Taking Psychology and Law into the
              Twenty-First Century,” (with John Darley, Sol Fulero, and Tom
              Tyler), in J. Ogloff (Ed.), Taking Psychology and Law into the
              Twenty-First Century (pp. 35-59). New York: Kluwer Academic/
              Plenum Publishing.

              “Science, Law, and Psychological Injury: The Daubert Standards
              and Beyond,” (with Amy Smith), in Schultz, I., Brady, D., and
              Carella, S., The Handbook of Psychological Injury (pp. 184-201).
              Chicago, IL: American Bar Association. [CD-ROM format]


    2001      “Vulnerable Offenders and the Law: Treatment Rights in Uncertain
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              Comprehension and Penalty Phase Arguments” (with M. Lynch),
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              (Ed.), Challenges and Alternatives to the Criminal Justice System.
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              Encyclopedia of Neurology, Psychiatry, Psychoanalysis, and
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              Guard” (with P. Zimbardo), in J. Tapp and F. Levine (Eds.), Law,
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    1975      “The Blackboard Penitentiary: It’s Tough to Tell a High School from
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              “Implementing Research Results in Criminal Justice Settings,”
              Proceedings, Third Annual Conference on Corrections in the U.S.
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              June 6-7.

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              Pathology” (with P. Zimbardo, C. Banks, and D. Jaffe), in D.
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   1973       “Social Roles, Role-Playing, and Education” (with P. Zimbardo),
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              “The Mind is a Formidable Jailer: A Pirandellian Prison” (with P.
              Zimbardo, C. Banks, and D. Jaffe), The New York Times Magazine,
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              “Interpersonal Dynamics in a Simulated Prison” (with C. Banks and
              P. Zimbardo), International Journal of Criminology and Penology,
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                 “A Study of Prisoners and Guards” (with C. Banks and P.
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MEMBERSHIP/ACTIVITIES IN PROFESSIONAL ASSOCIATIONS

     American Psychological Association

     American Psychology and Law Society

     Law and Society Association

     National Council on Crime and Delinquency


INVITED ADDRESSES AND PAPERS PRESENTED AT PROFESSIONAL ACADEMIC
      MEETINGS AND RELATED SETTINGS (SELECTED)



      2016       “The Culture of Punishment,” American Justice Summit, New York,
                 January.

                 “Mental Illness and Prison Confinement,” Conference on Race,
                 Class, Gender and Ethnicity (CRCGE), University of North Carolina
                 Law School, Chapel Hill, NC, February.


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              “Reforming the Treatment of California’s Mentally Ill Prisoners:
              Coleman and Beyond,” Meeting of the UC Consortium on Criminal
              Justice & Health, San Francisco, April.

              “Bending Toward Justice? The Urgency (and Possibility) of
              Criminal Justice Reform,” UC Santa Cruz Alumni Association
              “Original Thinkers” Series, San Jose, CA (March), and Museum of
              Tolerance, Los Angeles (April).


              “Isolation and Mental Health,” International and Inter-Disciplinary
              Perspectives on Prolonged Solitary Confinement, University of
              Pittsburgh Law School, Pittsburgh, PA, April.


    2015      “Reforming the Criminal Justice System,” Bipartisan Summit on
              Criminal Justice Reform, American Civil Liberties Union/Koch
              Industries co-sponsored, Washington, DC, March.

              “PrisonWorld: How Mass Incarceration Transformed U.S. Prisons,
              Impacted Prisoners, and Changed American Society,” Distinguished
              Faculty Research Lecture, UC Santa Cruz, March.

              “Think Different, About Crime and Punishment,” Invited Lecture,
              UC Santa Cruz 50th Anniversary Alumni Reunion, April.

              “The Intellectual Legacy of the Civil Rights Movement: Two Fifty-
              Year Anniversaries,” College 10 Commencement Address, June.

              “Race and Capital Mitigation,” Perspectives on Racial and Ethnic
              Bias for Capital and Non-Capital Lawyers, New York, September.

              “The Dimensions of Suffering in Solitary Confinement,” Vera
              Institute of Justice, “Safe Alternatives to Solitary Confinement-A
              Human Dignity Approach” Conference, Washington, DC,
              September.

              “Mental Health and Administrative Segregation,” Topical Working
              Group on the Use of Administrative Segregation in the U.S.,
              National Institute of Justice/Department of Justice, Washington,
              DC, October.

              “The Psychological Effects of Segregated Confinement,” Ninth
              Circuit Court of Appeals “Corrections Summit,” Sacramento, CA,
              November.



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              “How Can the University of California Address Mass Incarceration
              in California and Beyond?,” Keynote Address, Inaugural Meeting of
              the UC Consortium on Criminal Justice & Health, San Francisco,
              November.


    2014      “Solitary Confinement: Legal, Clinical, and Neurobiological
              Perspectives,” American Association for the Advancement of
              Science (AAAS), Chicago, IL February.

              “Overcrowding, Isolation, and Mental Health Care, Prisoners’
              Access to Justice: Exploring Legal, Medical, and Educational
              Rights,” University of California, School of Law, Irvine, CA,
              February.

              “Using Psychology at Multiple Levels to Transform Adverse
              Conditions of Confinement,” Society for the Study of Social Issues
              Conference, Portland, OR, June.

              “Humane and Effective Alternatives to Isolated Confinement,”
              American Civil Liberties Union National Prison Project Convening
              on Solitary Confinement, Washington, DC, September.

              “Community of Assessment of Public Safety,” Community
              Assessment Project of Santa Cruz County, Year 20, Cabrillo College,
              November.

              “Overview of National Academy of Sciences Report on Causes and
              Consequences of High Rates of Incarceration,” Chief Justice Earl
              Warren Institute on Law & Social Policy, Boalt Hall Law School,
              Berkeley, CA, November.

              “Presidential Panel, Overview of National Academy of Sciences
              Report on Causes and Consequences of High Rates of
              Incarceration,” American Society for Criminology, San Francisco,
              November.

              “Presidential Panel, National Academy of Sciences Report on
              Consequences of High Rates of Incarceration on Individuals,”
              American Society for Criminology, San Francisco, November.

              “Findings of National Academy of Sciences Committee on the
              Causes and Consequences of High Rates of Incarceration,”
              Association of Public Policy Analysis and Management Convention
              (APPAM), Albuquerque, NM, November.




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              “Politics and the Penal State: Mass Incarceration and American
              Society,” New York University Abu Dhabi International Scholars
              Program, Abu Dhabi, United Arab Emirates, December.


    2013      “Isolation and Mental Health,” Michigan Journal of Race and Law
              Symposium, University of Michigan School of Law, Ann Arbor, MI,
              February.

              “Bending Toward Justice: Psychological Science and Criminal
              Justice Reform,” Invited Plenary Address, American Psychological
              Association Annual Convention, Honolulu, HI, August.

              “Severe Conditions of Confinement and International Torture
              Standards,” Istanbul Center for Behavior Research and Therapy,
              Istanbul, Turkey, December.


    2012      “The Psychological Consequences of Long-term Solitary
              Confinement,” Joint Yale/Columbia Law School Conference on
              Incarceration and Isolation, New York, April.

              “The Creation of the Penal State in America,” Managing Social
              Vulnerability: The Welfare and Penal System in Comparative
              Perspective, Central European University, Budapest, Hungary, July.


    2011      “Tensions Between Psychology and the Criminal Justice System: On
              the Persistence of Injustice,” opening presentation, “A Critical Eye
              on Criminal Justice” lecture series, Golden Gate University Law
              School, San Francisco, CA, January.

              “The Decline in Death Penalty Verdicts and Executions: The Death
              of Capital Punishment?” Presentation at “A Legacy of Justice” week,
              at the University of California, Davis King Hall Law School, Davis,
              CA, January.

              “Invited Keynote Address: The Nature and Consequences of Prison
              Overcrowding—Urgency and Implications,” West Virginia School of
              Law, Morgantown, West Virginia, March.

              “Symposium: The Stanford Prison Experiment—Enduring Lessons
              40 Years Later,” American Psychological Association Annual
              Convention, Washington, DC, August.




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              “The Dangerous Overuse of Solitary Confinement: Pervasive
              Human Rights Violations in Prisons, Jails, and Other Places of
              Detention” Panel, United Nations, New York, New York, October.

              “Criminal Justice Reform: Issues and Recommendation,” United
              States Congress, Washington, DC, November.


    2010      “The Hardening of Prison Conditions,” Opening Address, “The
              Imprisoned” Arthur Liman Colloquium Public Interest Series, Yale
              Law School, New Haven, CN, March.

              “Desensitization to Inhumane Treatment: The Pitfalls of Prison
              Work,” panel presentation at “The Imprisoned” Arthur Liman
              Colloquium Public Interest Series, Yale Law School, New Haven,
              CN, March.

              “Mental Ill Health in Immigration Detention,” Department of
              Homeland Security/DOJ Office for Civil Rights and Civil Liberties,
              Washington, DC, September.


    2009      “Counting Casualties in the War on Prisoners,” Keynote Address, at
              “The Road to Prison Reform: Treating the Causes and Conditions of
              Our Overburdened System,” University of Connecticut Law School,
              Hartford, CN, February.

              “Defining the Problem in California’s Prison Crisis: Overcrowding
              and Its Consequences,” California Correctional Crisis Conference,”
              Hastings Law School, San Francisco, CA, March.


    2008      “Prisonization and Contemporary Conditions of Confinement,”
              Keynote Address, Women Defenders Association, Boalt Law School,
              University of California, November.

              “Media Criminology and the Empathic Divide: The Continuing
              Significance of Race in Capital Trials,” Invited Address, Media,
              Race, and the Death Penalty Conference, DePaul University School
              of Law, Chicago, IL, March.

              “The State of the Prisons in California,” Invited Opening Address,
              Confronting the Crisis: Current State Initiatives and Lasting
              Solutions for California’s Prison Conditions Conference, University
              of San Francisco School of Law, San Francisco, CA, March.




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              “Mass Incarceration and Its Effects on American Society,” Invited
              Opening Address, Behind the Walls Prison Law Symposium,
              University of California Davis School of Law, Davis, CA, March.


     2007     “The Psychology of Imprisonment: How Prison Conditions Affect
               Prisoners and Correctional Officers,” United States Department of
               Justice, National Institute of Corrections Management Training for
               “Correctional Excellence” Course, Denver, CO, May.

              “Statement on Psychologists, Detention, and Torture,” Invited
              Address, American Psychological Association Annual Convention,
              San Francisco, CA, August.

              “Prisoners of Isolation,” Invited Address, University of Indiana Law
              School, Indianapolis, IN, October.

              “Mitigation in Three Strikes Cases,” Stanford Law School, Palo Alto,
              CA, September.

              “The Psychology of Imprisonment,” Occidental College, Los
              Angeles, CA, November.


    2006      “Mitigation and Social Histories in Death Penalty Cases,” Ninth
              Circuit Federal Capital Case Committee, Seattle, WA, May.

              “The Crisis in the Prisons: Using Psychology to Understand and
              Improve Prison Conditions,” Invited Keynote Address, Psi Chi
              (Undergraduate Psychology Honor Society) Research Conference,
              San Francisco, CA, May.

               “Exoneration and ‘Wrongful Condemnation’: Why Juries Sentence
               to Death When Life is the Proper Verdict,” Faces of Innocence
               Conference, UCLA Law School, April.

              “The Continuing Effects of Imprisonment: Implications for Families
              and Communities,” Research and Practice Symposium on
              Incarceration and Marriage, United States Department of Health
              and Human Services, Washington, DC, April.

              “Ordinary People, Extraordinary Acts,” National Guantanamo
              Teach In, Seton Hall School of Law, Newark, NJ, October.

              “The Next Generation of Death Penalty Research,” Invited Address,
              State University of New York, School of Criminal Justice, Albany,
              NY, October.


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    2005      “The ‘Design’ of the System of Death Sentencing: Systemic Forms of
              ‘Moral Disengagement in the Administration of Capital
              Punishment, Scholar-in-Residence, invited address, Center for
              Social Justice, Boalt Hall School of Law (Berkeley), March.

              “Humane Treatment for Asylum Seekers in U.S. Detention
              Centers,” United States House of Representatives, Washington, DC,
              March.

              “Prisonworld: What Overincarceration Has Done to Prisoners and
              the Rest of Us,” Scholar-in-Residence, invited address, Center for
              Social Justice, Boalt Hall School of Law (Berkeley), March.

              “Prison Conditions and Their Psychological Effects on Prisoners,”
              European Association for Psychology and Law, Vilnius, Lithuania,
              July.


    2004      “Recognizing the Adverse Psychological Effects of Incarceration,
              With Special Attention to Solitary-Type Confinement and Other
              Forms of ‘Ill-Treatment’ in Detention,” International Committee of
              the Red Cross, Training Program for Detention Monitors, Geneva,
              Switzerland, November.

              “Prison Conditions in Post-“War on Crime” Era: Coming to Terms
              with the Continuing Pains of Imprisonment,” Boalt Law School
              Conference, After the War on Crime: Race, Democracy, and a New
              Reconstruction, Berkeley, CA, October.

              “Cruel and Unusual? The United States Prison System at the Start
              of the 21st Century,” Invited speaker, Siebel Scholars Convocation,
              University of Illinois, Urbana, IL, October.

              “The Social Historical Roots of Violence: Introducing Life
              Narratives into Capital Sentencing Procedures,” Invited
              Symposium, XXVIII International Congress of Psychology, Beijing,
              China, August.

              “Death by Design: Capital Punishment as a Social Psychological
              System,” Division 41 (Psychology and Law) Invited Address,
              American Psychological Association Annual Convention, Honolulu,
              HI, July.

              “The Psychology of Imprisonment and the Lessons of Abu Ghraib,”
              Commonwealth Club Public Interest Lecture Series, San Francisco,


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              May.

              “Restructuring Prisons and Restructuring Prison Reform,” Yale Law
              School Conference on the Current Status of Prison Litigation in the
              United States, New Haven, CN, May.

              “The Effects of Prison Conditions on Prisoners and Guards: Using
              Psychological Theory and Data to Understand Prison Behavior,”
              United States Department of Justice, National Institute of
              Corrections Management Training Course, Denver, CO, May.

              “The Contextual Revolution in Psychology and the Question of
              Prison Effects: What We Know about How Prison Affects Prisoners
              and Guards,” Cambridge University, Cambridge, England, April.

              “Death Penalty Attitudes, Death Qualification, and Juror
              Instructional Comprehension,” American Psychology-Law Society,
              Annual Conference, Scottsdale, AZ, March.


   2003        “Crossing the Empathic Divide: Race Factors in Death Penalty
               Decisionmaking,” DePaul Law School Symposium on Race and the
               Death Penalty in the United States, Chicago, October.

              “Supermax Prisons and the Prison Reform Paradigm,” PACE Law
              School Conference on Prison Reform Revisited: The Unfinished
              Agenda, New York, October.

              “Mental Health Issues in Supermax Confinement,” European
              Psychology and Law Conference, University of Edinburgh, Scotland,
              July.

              “Roundtable on Capital Punishment in the United States: The Key
              Psychological Issues,” European Psychology and Law Conference,
              University of Edinburgh, Scotland, July.

              “Psychology and Legal Change: Taking Stock,” European
              Psychology and Law Conference, University of Edinburgh, Scotland,
              July.

              “Economic Justice and Criminal Justice: Social Welfare and Social
              Control,” Society for the Study of Social Issues Conference, January.

              “Race, Gender, and Class Issues in the Criminal Justice System,”
              Center for Justice, Tolerance & Community and Barrios Unidos
              Conference, March.



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   2002       “The Psychological Effects of Imprisonment: Prisonization and
              Beyond.” Joint Urban Institute and United States Department of
              Health and Human Services Conference on “From Prison to Home.”
              Washington, DC, January.

              “On the Nature of Mitigation: Current Research on Capital Jury
              Decisionmaking.” American Psychology and Law Society, Mid-
              Winter Meetings, Austin, Texas, March.

              “Prison Conditions and Death Row Confinement.” New York Bar
              Association, New York City, June.


   2001       “Supermax and Solitary Confinement: The State of the Research
              and the State of the Prisons.” Best Practices and Human Rights in
              Supermax Prisons: A Dialogue. Conference sponsored by University
              of Washington and the Washington Department of Corrections,
              Seattle, September.

              “Mental Health in Supermax: On Psychological Distress and
              Institutional Care.” Best Practices and Human Rights in Supermax
              Prisons: A Dialogue. Conference sponsored by University of
              Washington and the Washington Department of Corrections,
              Seattle, September.

              “On the Nature of Mitigation: Research Results and Trial Process
              and Outcomes.” Boalt Hall School of Law, University of California,
              Berkeley, August.

              “Toward an Integrated Theory of Mitigation.” American
              Psychological Association Annual Convention, San Francisco, CA,
              August.

              Discussant: “Constructing Class Identities—The Impact of
              Educational Experiences.” American Psychological Association
              Annual Convention, San Francisco, CA, August.

              “The Rise of Carceral Consciousness.” American Psychological
              Association Annual Convention, San Francisco, CA, August.


   2000       “On the Nature of Mitigation: Countering Generic Myths in Death
              Penalty Decisionmaking,” City University of New York Second
              International Advances in Qualitative Psychology Conference,
              March.



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              “Why Has U.S. Prison Policy Gone From Bad to Worse? Insights
              From the Stanford Prison Study and Beyond,” Claremont
              Conference on Women, Prisons, and Criminal Injustice, March.

              “The Use of Social Histories in Capital Litigation,” Yale Law School,
              April.

              “Debunking Myths About Capital Violence,” Georgetown Law
              School, April.

              “Research on Capital Jury Decisionmaking: New Data on Juror
              Comprehension and the Nature of Mitigation,” Society for Study of
              Social Issues Convention, Minneapolis, June.

              “Crime and Punishment: Where Do We Go From Here?” Division
              41 Invited Symposium, “Beyond the Boundaries: Where Should
              Psychology and Law Be Taking Us?” American Psychological
              Association Annual Convention, Washington, DC, August.


   1999       “Psychology and the State of U.S. Prisons at the Millennium,”
              American Psychological Association Annual Convention, Boston,
              MA, August.

              “Spreading Prison Pain: On the Worldwide Movement Towards
              Incarcerative Social Control,” Joint American Psychology-Law
              Society/European Association of Psychology and Law Conference,
              Dublin, Ireland, July.


   1998       “Prison Conditions and Prisoner Mental Health,” Beyond the Prison
              Industrial Complex Conference, University of California, Berkeley,
              September.

              “The State of US Prisons: A Conversation,” International Congress
              of Applied Psychology, San Francisco, CA, August.

              “Deathwork: Capital Punishment as a Social Psychological System,”
              Invited SPPSI Address, American Psychological Association Annual
              Convention, San Francisco, CA, August.

              “The Use and Misuse of Psychology in Justice Studies: Psychology
              and Legal Change: What Happened to Justice?,” (panelist),
              American Psychological Association Annual Convention, San
              Francisco, CA, August.




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              “Twenty Five Years of American Corrections: Past and Future,”
              American Psychology and Law Society, Redondo Beach, CA, March.


   1997       “Deconstructing the Death Penalty,” School of Justice Studies,
              Arizona State University, Tempe, AZ, October.

              “Mitigation and the Study of Lives,” Invited Address to Division 41
              (Psychology and Law), American Psychological Association Annual
              Convention, Chicago, August.


   1996       “The Stanford Prison Experiment and 25 Years of American Prison
              Policy,” American Psychological Association Annual Convention,
              Toronto, August.


   1995       “Looking Closely at the Death Penalty: Public Stereotypes and
              Capital Punishment,” Invited Address, Arizona State University
              College of Public Programs series on Free Speech, Affirmative
              Action and Multiculturalism, Tempe, AZ, April.

              “Race and the Flaws of the Meritocratic Vision,” Invited Address,
              Arizona State University College of Public Programs series on Free
              Speech, Affirmative Action and Multiculturalism, Tempe, AZ, April.

              “Taking Capital Jurors Seriously,” Invited Address, National
              Conference on Juries and the Death Penalty, Indiana Law School,
              Bloomington, February.


   1994       “Mitigation and the Social Genetics of Violence: Childhood
              Treatment and Adult Criminality,” Invited Address, Conference on
              the Capital Punishment, Santa Clara Law School, October, Santa
              Clara.


   1992       “Social Science and the Death Penalty,” Chair and Discussant,
              American Psychological Association Annual Convention, San
              Francisco, CA, August.


   1991       “Capital Jury Decisionmaking,” Invited panelist, American
              Psychological Association Annual Convention, Atlanta, GA, August.




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   1990       “Racial Discrimination in Death Penalty Cases,” Invited
              presentation, NAACP Legal Defense Fund Conference on Capital
              Litigation, August, Airlie, VA.


   1989       “Psychology and Legal Change: The Impact of a Decade,” Invited
              Address to Division 41 (Psychology and Law), American
              Psychological Association Annual Convention, New Orleans, LA.,
              August.

              “Judicial Remedies to Pretrial Prejudice,” Law & Society
              Association Annual Meeting, Madison, WI, June.

              “The Social Psychology of Police Interrogation Techniques” (with R.
              Liebowitz), Law & Society Association Annual Meeting, Madison,
              WI, June.


   1987       “The Fourteenth Amendment and Symbolic Legality: Let Them Eat
              Due Process,” APA Annual Convention, New York, N.Y. August.

              “The Nature and Function of Prison in the United States and
              Mexico: A Preliminary Comparison,” InterAmerican Congress of
              Psychology, Havana, Cuba, July.


   1986       Chair, Division 41 Invited Address and “Commentary on the
              Execution Ritual,” APA Annual Convention, Washington, D.C.,
              August.

              “Capital Punishment,” Invited Address, National Association of
              Criminal Defense Lawyers Annual Convention, Monterey, CA,
              August.


   1985       “The Role of Law in Graduate Social Science Programs” and
              “Current Directions in Death Qualification Research,” American
              Society of Criminology, San Diego, CA, November.

              “The State of the Prisons: What’s Happened to ‘Justice’ in the ‘70s
              and ‘80s?” Invited Address to Division 41 (Psychology and Law);
              APA Annual Convention, Los Angeles, CA, August.


   1983       “The Role of Social Science in Death Penalty Litigation.” Invited
              Address in National College of Criminal Defense Death Penalty
              Conference, Indianapolis, IN, September.


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    1982           “Psychology in the Court: Social Science Data and Legal Decision-
                   Making.” Invited Plenary Address, International Conference on
                   Psychology and Law, University College, Swansea, Wales, July.


    1982           “Paradigms in Conflict: Contrasting Methods and Styles of
                   Psychology and Law.” Invited Address, Social Science Research
                   Council, Conference on Psychology and Law, Wolfson College,
                   Oxford University, March.


    1982           “Law and Psychology: Conflicts in Professional Roles.” Invited
                   paper, Western Psychological Association Annual Meeting, April.


    1980           “Using Psychology in Test Case Litigation,” panelist, American
                   Psychological Association Annual Convention, Montreal, Canada,
                   September.

                   “On the Selection of Capital Juries: The Biasing Effects of Death
                   Qualification.” Paper presented at the Interdisciplinary Conference
                   on Capital Punishment. Georgia State University, Atlanta, GA,
                   April.

                   “Diminished Capacity and Imprisonment: The Legal and
                   Psychological Issues,” Proceedings of the American Trial Lawyers
                   Association, Mid-Winter Meeting, January.


    1975           “Social Change and the Ideology of Individualism in Psychology and
                   Law.” Paper presented at the Western Psychological Association
                   Annual Meeting, April.



SERVICE TO STAFF OR EDITORIAL BOARDS OF FOUNDATIONS, SCHOLARLY
JOURNALS OR PRESSES


    2016-present      Editorial Consultant, Translational Issues in Psychological
                      Science.

    2015-present      Editorial Consultant, Criminal Justice Review.

    2014-present      Editorial Board Member, Law and Social Inquiry.


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   2013-present    Editorial Consultant, Criminal Justice and Behavior.

   2012-present    Editorial Consultant, Law and Society Review.

   2011-present    Editorial Consultant, Social Psychological and Personality
                   Science.

   2008-present    Editorial Consultant, New England Journal of Medicine.

   2007-present    Editorial Board Member, Correctional Mental Health Reporter.

   2007-present   Editorial Board Member, Journal of Offender Behavior and
                         Rehabilitation.

   2004-present   Editorial Board Member, American Psychology and Law Society
                  Book Series, Oxford University Press.

   2000-2003      Reviewer, Society for the Study of Social Issues Grants-in-Aid
                  Program.

   2000-present   Editorial Board Member, ASAP (on-line journal of the Society for
                  the Study of Social Issues)

   1997-present   Editorial Board Member, Psychology, Public Policy, and Law

   1991           Editorial Consultant, Brooks/Cole Publishing

   1989           Editorial Consultant, Journal of Personality and Social
                  Psychology

   1988-          Editorial Consultant, American Psychologist

   1985           Editorial Consultant, American Bar Foundation Research Journal

   1985-2006      Law and Human Behavior, Editorial Board Member

   1985           Editorial Consultant, Columbia University Press

   1985           Editorial Consultant, Law and Social Inquiry

   1980-present Reviewer, National Science Foundation

   1997           Reviewer, National Institutes of Mental Health

   1980-present Editorial Consultant, Law and Society Review



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   1979-1985       Editorial Consultant, Law and Human Behavior

   1997-present    Editorial Consultant, Legal and Criminological Psychology

   1993-present    Psychology, Public Policy, and Law, Editorial Consultant




   GOVERNMENTAL, LEGAL AND CRIMINAL JUSTICE CONSULTING


   Training Consultant, Palo Alto Police Department, 1973-1974.

   Evaluation Consultant, San Mateo County Sheriff’s Department, 1974.

   Design and Training Consultant to Napa County Board of Supervisors, County
         Sheriff’s Department (county jail), 1974.

   Training Consultation, California Department of Corrections, 1974.

   Consultant to California Legislature Select Committee in Criminal Justice, 1974,
         1980-1981 (effects of prison conditions, evaluation of proposed prison
         legislation).

   Reviewer, National Science Foundation (Law and Social Science, Research
         Applied to National Needs Programs), 1978-present.

   Consultant, Santa Clara County Board of Supervisors, 1980 (effects of jail
         overcrowding, evaluation of county criminal justice policy).

   Consultant to Packard Foundation, 1981 (evaluation of inmate counseling and
         guard training programs at San Quentin and Soledad prisons).

   Member, San Francisco Foundation Criminal Justice Task Force, 1980-1982
       (corrections expert).

   Consultant to NAACP Legal Defense Fund, 1982- present (expert witness, case
         evaluation, attorney training).

   Faculty, National Judicial College, 1980-1983.

   Consultant to Public Advocates, Inc., 1983-1986 (public interest litigation).

   Consultant to California Child, Youth, Family Coalition, 1981-82 (evaluation of
         proposed juvenile justice legislation).



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   Consultant to California Senate Office of Research, 1982 (evaluation of causes
         and consequences of overcrowding in California Youth Authority
         facilities).

   Consultant, New Mexico State Public Defender, 1980-1983 (investigation of
                causes of February, 1980 prison riot).

   Consultant, California State Supreme Court, 1983 (evaluation of county jail
         conditions).

   Member, California State Bar Committee on Standards in Prisons and Jails, 1983.

   Consultant, California Legislature Joint Committee on Prison Construction and
         Operations, 1985.

   Consultant, United States Bureau of Prisons and United States Department of the
         Interior (Prison History, Conditions of Confinement Exhibition, Alcatraz
         Island), 1989-1991.

   Consultant to United States Department of Justice, 1980-1990 (evaluation of
         institutional conditions).

   Consultant to California Judicial Council (judicial training programs), 2000.

   Consultant to American Bar Association/American Association for Advancement
         of Science Task Force on Forensic Standards for Scientific Evidence, 2000.

   Invited Participant, White House Forum on the Uses of Science and Technology
        to Improve Crime and Prison Policy, 2000.

   Member, Joint Legislative/California Department of Corrections Task Force on
       Violence, 2001.

   Consultant, United States Department of Health & Human Services/Urban Institute,
         “Effects of Incarceration on Children, Families, and Low-Income Communities”
         Project, 2002.

   Detention Consultant, United States Commission on International Religious Freedom
         (USCRIF). Evaluation of Immigration and Naturalization Service Detention
         Facilities, July, 2004-present.

   Consultant, International Committee of the Red Cross, Geneva, Switzerland, Consultant
         on international conditions of confinement.

   Member, Institutional Research External Review Panel, California Department of
       Corrections, November, 2004-2008.



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   Consultant, United States Department of Health & Human Services on programs
         designed to enhance post-prison success and community reintegration, 2006.

   Consultant/Witness, U.S. House of Representatives, Judiciary Committee, Evaluation of
         legislative and budgetary proposals concerning the detention of undocumented
         persons, February-March, 2005.

   Invited Expert Witness to National Commission on Safety and Abuse in America’s
          Prisons (Nicholas Katzenbach, Chair); Newark, New Jersey, July 19-20, 2005.

   Testimony to the United States Senate, Judiciary Subcommittee on the
         Constitution, Civil Rights, and Property Rights (Senators Brownback and
         Feingold, co-chairs), Hearing on “An Examination of the Death Penalty in
         the United States,” February 7, 2006.

   National Council of Crime and Delinquency “Sentencing and Correctional Policy
         Task Force,” member providing written policy recommendations to the
         California legislature concerning overcrowding crisis in the California
         Department of Corrections and Rehabilitation.

   Trainer/Instructor, Federal Bureau of Prisons and United States Department of Justice,
         “Correctional Excellence” Program, providing instruction concerning conditions
         of confinement and psychological stresses of living and working in correctional
         environments to mid-level management corrections professionals, May, 2004-
         2008.

   Invited Expert Witness, California Commission on the Fair Administration of Justice,
          Public Hearing, Santa Clara University, March 28, 2008.

   Invited Participant, Department of Homeland Security, Mental Health Effects of
          Detention and Isolation, 2010.

   Invited Witness, Before the California Assembly Committee on Public Safety,
          August 23, 2011.

   Consultant, “Reforming the Criminal Justice System in the United States” Joint
         Working Group with Senator James Webb and Congressional Staffs, 2011
         Developing National Criminal Justice Commission Legislation.

   Invited Participant, United Nations, Forum with United Nations Special
          Rapporteur on Torture Concerning the Overuse of Solitary Confinement,
         New York, October, 2011.

   Invited Witness, Before United States Senate Judiciary Subcommittee on the
          Constitution, Civil Rights, and Human Rights Hearing on Solitary
          Confinement, June 19, 2012.



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   Member, National Academy of Sciences Committee to Study the Causes and
       Consequences of the High Rate of Incarceration in the United States,
       2012-2014.

   Member, National Academy of Sciences Briefing Group, briefed media and public
       officials at Pew Research Center, Congressional staff, and White House staff
       concerning policy implications of The Growth of Incarceration in the United
       States: Exploring the Causes and Consequences (2014), April 30-May 1.

   Consultant to United States Department of Justice and White House Domestic Policy
         Council on formulation of federal policy concerning use of segregation
         confinement, 2015.



   PRISON AND JAIL CONDITIONS EVALUATIONS AND LITIGATION


    Hoptowit v. Ray [United States District Court, Eastern District of Washington,
    1980; 682 F.2d 1237 (9th Cir. 1982)]. Evaluation of psychological effects of
    conditions of confinement at Washington State Penitentiary at Walla Walla for
    United States Department of Justice.

    Wilson v. Brown (Marin Country Superior Court; September, 1982, Justice
    Burke). Evaluation of effects of overcrowding on San Quentin mainline
    inmates.

    Thompson v. Enomoto (United States District Court, Northern District of
    California, Judge Stanley Weigel, 1982 and continuing). Evaluation of
    conditions of confinement on Condemned Row, San Quentin Prison.

    Toussaint v. McCarthy [United States District Court, Northern District of
    California, Judge Stanley Weigel, 553 F. Supp. 1365 (1983); 722 F. 2d 1490 (9th
    Cir. 1984) 711 F. Supp. 536 (1989)]. Evaluation of psychological effects of
    conditions of confinement in lockup units at DVI, Folsom, San Quentin, and
    Soledad.

    In re Priest (Proceeding by special appointment of the California Supreme
    Court, Judge Spurgeon Avakian, 1983). Evaluation of conditions of
    confinement in Lake County Jail.

    Ruiz v. Estelle [United States District Court, Southern District of Texas, Judge
    William Justice, 503 F. Supp. 1265 (1980)]. Evaluation of effects of
    overcrowding in the Texas prison system, 1983-1985.




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    In re Atascadero State Hospital (Civil Rights of Institutionalized Persons Act of
    1980 action). Evaluation of conditions of confinement and nature of patient
    care at ASH for United States Department of Justice, 1983-1984.

    In re Rock (Monterey County Superior Court 1984). Appointed to evaluate
    conditions of confinement in Soledad State Prison in Soledad, California.

    In re Mackey (Sacramento County Superior Court, 1985). Appointed to
    evaluate conditions of confinement at Folsom State Prison mainline housing
    units.

    Bruscino v. Carlson (United States District Court, Southern District of Illinois
    1984 1985). Evaluation of conditions of confinement at the United States
    Penitentiary at Marion, Illinois [654 F. Supp. 609 (1987); 854 F.2d 162 (7th Cir.
    1988)].

    Dohner v. McCarthy [United States District Court, Central District of
    California, 1984-1985; 636 F. Supp. 408 (1985)]. Evaluation of conditions of
    confinement at California Men’s Colony, San Luis Obispo.

    Invited Testimony before Joint Legislative Committee on Prison Construction
    and Operations hearings on the causes and consequences of violence at Folsom
    Prison, June, 1985.

    Stewart v. Gates [United States District Court, 1987]. Evaluation of conditions
    of confinement in psychiatric and medical units in Orange County Main Jail,
    Santa Ana, California.

    Duran v. Anaya (United States District Court, 1987-1988). Evaluation of
    conditions of confinement in the Penitentiary of New Mexico, Santa Fe, New
    Mexico [Duran v. Anaya, No. 77-721 (D. N.M. July 17, 1980); Duran v. King, No.
    77-721 (D. N.M. March 15, 1984)].

    Gates v. Deukmejian (United States District Court, Eastern District of
    California, 1989). Evaluation of conditions of confinement at California
    Medical Facility, Vacaville, California.

    Kozeak v. McCarthy (San Bernardino Superior Court, 1990). Evaluation of
    conditions of confinement at California Institution for Women, Frontera,
    California.

    Coleman v. Gomez (United States District Court, Eastern District of California,
    1992-3; Magistrate Moulds, Chief Judge Lawrence Karlton, 912 F. Supp. 1282
    (1995). Evaluation of study of quality of mental health care in California prison
    system, special mental health needs at Pelican Bay State Prison.




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    Madrid v. Gomez (United States District Court, Northern District of California,
    1993, District Judge Thelton Henderson, 889 F. Supp. 1146 (N.D. Cal. 1995).
    Evaluation of conditions of confinement and psychological consequences of
    isolation in Security Housing Unit at Pelican Bay State Prison, Crescent City,
    California.

    Clark v. Wilson, (United States District Court, Northern District of California,
    1998, District Judge Fern Smith, No. C-96-1486 FMS), evaluation of screening
    procedures to identify and treatment of developmentally disabled prisoners in
    California Department of Corrections.

    Turay v. Seling [United States District Court, Western District of Washington
    (1998)]. Evaluation of Conditions of Confinement-Related Issues in Special
    Commitment Center at M cN eil Island Correctional Center.

    In re: The Commitment of Durden, Jackson, Leach, & Wilson. [Circuit Court,
    Palm Beach County, Florida (1999).] Evaluation of Conditions of Confinement
    in Martin Treatment Facility.

    Ruiz v. Johnson [United States District Court, Southern District of Texas,
    District Judge William Wayne Justice, 37 F. Supp. 2d 855 (SD Texas 1999)].
    Evaluation of current conditions of confinement, especially in security housing
    or “high security” units.

    Osterback v. Moore (United States District Court, Southern District of Florida
    (97-2806-CIV-MORENO) (2001) [see, Osterback v. Moore, 531 U.S. 1172
    (2001)]. Evaluation of Close Management Units and Conditions in the Florida
    Department of Corrections.

    Valdivia v. Davis (United States District Court, Eastern District of California,
    2002). Evaluation of due process protections afforded mentally ill and
    developmentally disabled parolees in parole revocation process.

    Ayers v. Perry (United States District Court, New Mexico, 2003). Evaluation of
    conditions of confinement and mental health services in New Mexico
    Department of Corrections “special controls facilities.”

    Disability Law Center v. Massachusetts Department of Corrections (Federal
    District Court, Massachusetts, 2007). Evaluation of conditions of confinement
    and treatment of mentally ill prisoners in disciplinary lockup and segregation
    units.

    Plata/Coleman v. Schwarzenegger (Ninth Circuit Court of Appeals, Three-Judge
    Panel, 2008). Evaluation of conditions of confinement, effects of overcrowding
    on provision of medical and mental health care in California Department of
    Corrections and Rehabilitation. [See Brown v. Plata, 563 U.S. 493 (2011).]



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    Ashker v. Brown (United States District Court, Northern District of California,
    2013-2015). Evaluation of the effect of long-term isolated confinement in
    Pelican Bay State Prison Security Housing Unit.

    Parsons v. Ryan (United States District Court, District of Arizona, 2012-14).
    Evaluation of conditions of segregated confinement for mentally ill and non-
    mentally ill prisoners in statewide correctional facilities.

    Dunn v. Dunn (United States District Court, Middle District of Alabama, 2015-
    2017). Evaluation of mental health care delivery system, overcrowded
    conditions of confinement, and use of segregation in statewide prison system.




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